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 1   SIRI & GLIMSTAD LLP
     Aaron Siri (Pro Hac Vice To Be Filed)
 2
     Email: aaron@sirillp.com
 3   Elizabeth A. Brehm (Pro Hac Vice To Be Filed)
     Email: ebrehm@sirillp.com
 4
     200 Park Avenue
 5   Seventeenth Floor
     New York, NY 10166
 6
     Telephone: 212-532-1091
 7   Facsimile: 646-417-5967
 8
     Caroline Tucker (SBN 261377)
 9   Email: ctucker@sirillp.com
10   700 S. Flower Street, Suite 1000
     Los Angeles, CA 90017
11   Telephone 213-376-3739
12   Facsimile 646-417-5967

13   CHRIS WIEST ATTORNEY AT LAW, PLLC
14   Chris Wiest (Pro Hac Vice To Be Filed)
     Email: chris@cwiestlaw.com
15   25 Town Center Blvd, STE 104
16   Crestview Hills, KY 41017
     Telephone: 513-257-1895
17   Facsimile: 859-495-0803
18
     Attorneys for Plaintiff
19   AARON KHERIATY, M.D.
20
                           UNITED STATES DISTRICT COURT
21
                         CENTRAL DISTRICT OF CALIFORNIA
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                                   SOUTHERN DIVISION
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                   VERIFIED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1    AARON KHERIATY, M.D.,                           Case No.
 2
                                   Plaintiff,         VERIFIED COMPLAINT FOR
 3    v.                                              DECLARATORY AND INJUNCTIVE
                                                      RELIEF
 4
      THE REGENTS OF THE UNIVERSITY
 5    OF CALIFORNIA, a corporation, and
      MICHAEL V. DRAKE, in his official
 6
      capacity as President of the UNIVERSITY
 7    OF CALIFORNIA,
 8
                                   Defendants.
 9
10
11         Plaintiff, Aaron Kheriaty, M.D. (“Plaintiff”) for his verified complaint, against

12   THE REGENTS OF THE UNIVERSITY OF CALIFORNIA, and MICHAEL V.

13   DRAKE, in his official capacity as President of the University of California, (collectively

14   “Defendants”) by and through his attorneys, alleges as follows:

15                                      INTRODUCTION

16         1.     The equal protection clause of the Fourteenth Amendment to the U.S.

17   Constitution requires a state to treat an individual in the same manner as others in similar

18   conditions and circumstances.      The Fourteenth Amendment further recognizes and

19   guarantees fundamental rights and liberty interests of personal autonomy and bodily

20   integrity. Plaintiff brings this action because the University of California Irving (“UCI”)

21   will soon refuse to allow him back on campus and is thereby violating his liberty interests

22   and treating him differently from other similarly situated individuals who are permitted

23   back on campus.

24         2.     Over the eons of human development, our bodies have created a remarkable

25   immune system capable of protecting us against a wide variety of pathogenic viruses.

26   This system includes an enormously diverse repertoire of cells with a nearly unlimited

27   capacity to recognize and ‘adapt’ to previously unseen viruses. Rather than having to re-

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 1   create the same immunological response every time a virus attacks the body, our immune
 2   systems have an innate form of memory which prevents reinfection with the same virus.
 3   This memory system creates antibodies to all antigens of a given virus thereby providing
 4   previously infected individuals with neutralizing immunity to a previously encountered
 5   virus (“naturally immune individuals”).
 6         3.     While different vaccines for COVID-19 work in different ways, they are all
 7   designed to create immunity to a portion of the virus (specifically, the spike protein),
 8   without creating too many side effects, in the hope that this partial immunity to a portion
 9   of the virus will confer neutralizing immunity to the entire virus when encountered by
10   the vaccinated individual. Despite humanity’s best efforts at mimicking the immune
11   system’s protection, the immunity generated after infection with a virus, including
12   SARS-CoV-2 (the virus which causes the disease COVID-19, hereinafter the “virus” or
13   the “COVID-19 virus”), creates a more robust and durable form of immunity to a virus
14   than any vaccine can create.
15         4.     Recent studies related to COVID-19 vaccines demonstrate these weaknesses
16   in vaccine-induced immunity. While someone who has had the COVID-19 virus will
17   typically immediately neutralize the virus upon re-exposure, thereby preventing
18   reinfection and transmission, studies have found that an individual vaccinated for
19   COVID-19 can still become infected with and have the same amount of virus in their
20   nasopharynx as an unvaccinated individual with COVID-19. The vaccinated individual
21   should typically have fewer symptoms, however that individual can still transmit the virus
22   to others.
23         5.     The University of California (“UC”) recently enacted a new policy to
24   “facilitate the protection of the health and safety of the University community” by
25   ensuring that individuals who return to campus have immunity to the virus that causes
26   COVID-19 (the “Mandate”).        However, to reach this goal, UC decided that only
27   vaccinated individuals will be permitted on a UC campus come this fall, ignoring those
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 1   who have natural immunity to the virus. Thus, the policy provides “for a COVID-19
 2   Vaccination Program under which any” student, faculty, or staff member “is required,
 3   subject to limited deferrals, exceptions, and associated non-pharmaceutical interventions,
 4   to be fully vaccinated against COVID-19 before physically accessing the University’s
 5   Locations and Programs.” In enacting this policy, the University is treating naturally
 6   immune individuals differently from individuals whose immunity was created by one of
 7   the COVID-19 vaccines.
 8         6.     Plaintiff is a physician and professor of Psychiatry and Human Behavior at
 9   the UCI School of Medicine (“UCI”).             He is one of the estimated 3.9 million
10   Californians 1 who are confirmed to have contracted the COVID-19 virus. He was
11   infected with the virus in July 2020 and experienced many of the common symptoms
12   associated with COVID-19, including a cough and loss of taste and smell. In fighting off
13   the virus, his body created a robust natural immunity to every antigen on the COVID-19
14   virus, not just the spike protein of the virus as happens with the COVID-19 vaccines.
15   Nevertheless, UCI has told Plaintiff that he cannot return to his teaching position unless
16   he receives a COVID-19 vaccine. Thus, UC is treating him differently by refusing to re-
17   admit him to campus when other individuals who are considered immune to the virus are
18   being admitted back simply because their immunity was created by a vaccine. This policy
19   is illogical and cannot withstand strict scrutiny or even a rational basis test because
20   naturally immune individuals, like Plaintiff, have at least as good or better immunity to
21   the virus that causes COVID-19 than do individuals who are vaccinated.
22         7.     In the more than 19 months that the world has been transfixed by the
23   COVID-19 pandemic, evidence shows that the reinfection rate after natural infection is
24   less than 1%, and there are no documented cases of reinfection and transmission to others
25   by naturally immune individuals. In contrast, COVID-19 vaccination in the optimal
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     1
       See https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/nCOV2019.
27
     aspx.
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 1   setting of a clinical trial has, at best, an estimated 67% to 95% efficacy (depending on the
 2   COVID-19 vaccine and the variant of the virus) and the vaccine manufacturers and public
 3   health agencies have made clear that booster doses will likely be needed, due to wanning
 4   immunity created by the vaccines. Likewise, recent United States Centers for Disease
 5   Control and Prevention (“CDC”) studies have been replete with reports of so-called
 6   “breakthrough cases” where individuals are infected after they are fully vaccinated. Dr.
 7   Rochelle Walensky, Director of the CDC, and Dr. Anthony Fauci, Director of NIH’s
 8   NIAID, have explained that the amount of virus in those individuals’ noses is the same
 9   as the unvaccinated who have COVID-19. 2 This has led to the CDC’s revised guidelines
10   recommending a return to masks for those who have been vaccinated and experts to
11   conclude that “vaccination is now about personal protection” because “herd immunity is
12   not relevant as we are seeing plenty of evidence of repeat and breakthrough infections.” 3
13         8.     As described more fully herein, UCI’s refusal to readmit Plaintiff to campus
14   unless he receives a vaccine is an equal protection violation. The right of individuals to
15   their bodily integrity, which includes a right to refuse medical treatment, has long been
16   recognized as one of the fundamental liberty rights afforded under due process. By
17   forcing Plaintiff to receive a vaccine he does not want or need, and that may cause harm,
18   in order to be treated equally as other individuals who are also immune, UCI’s Mandate
19   implicates Plaintiff’s substantive due process rights, and the Court should analyze his
20   equal protection claim under the strict scrutiny analysis, i.e., whether the Mandate is both
21   satisfying a compelling government need and is implemented by the least restrictive
22
23   2
       See https://www.cdc.gov/mmwr/volumes/70/wr/mm7031e2.htm?s_cid=mm7031e2_w
24   #contribAff; see also https://www.msnbc.com/all-in/watch/dr-fauci-explains-updated-
     cdc-mask-guidance-for-vaccinated-people-amid-covid-hotspots-117489221538 at 1:09;
25   see also https://www.nytimes.com/2021/07/30/health/covid-cdc-delta-masks.html?smty
26   p=cur&smid=tw-nytimes.
     3
       See https://www.cdc.gov/coronavirus/2019-ncov/vaccines/fully-vaccinated.html; see
27
     also https://www.washingtonpost.com/health/2021/07/29/cdc-mask-guidance/.
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 1   means. Defendants cannot satisfy either of these prongs. Even though a government
 2   entity has a compelling government interest in preventing the spread of COVID-19, that
 3   interest is not furthered by compelling Plaintiff to be vaccinated to satisfy this interest
 4   because he is already naturally immune and, unlike the vaccinated, if exposed to the virus,
 5   has neutralizing immunity. By failing to acknowledge that naturally immune individuals
 6   are unlikely to spread the virus, and certainly far less likely than the vaccinated, the
 7   Mandate is not narrowly tailored.
 8         9.      Nor can the Mandate even satisfy rational basis analysis. Plaintiff is already
 9   naturally immune to the virus. He is therefore less likely to infect other individuals than
10   are people who have been vaccinated. As a result, requiring him to be vaccinated in order
11   to return to campus is irrational. In addition, by targeting people who have had the virus
12   but remain unvaccinated, the Mandate unfairly singles out one unpopular group for
13   disparate treatment.
14         10.     For these reasons, more fully explained below, Plaintiff seeks a preliminary
15   injunction and declaratory relief enjoining Defendants from enforcing the Mandate
16   against him or any other naturally immune individual.
17                                           PARTIES
18         11.     Plaintiff, AARON KHERIATY, M.D., is an individual who resides in
19   Orange County, California.       Plaintiff is currently employed at the University of
20   California, Irvine, School of Medicine.
21         12.     Defendant THE REGENTS OF THE UNIVERSITY OF CALIFORNIA is
22   a California Corporation empowered under Article IX, Section 9 of the California
23   Constitution. Defendant owns and operates the University of California, Irvine, School
24   of Medicine. This Defendant is responsible for the implementation, and enforcement, of
25   the challenged policy, and, since its enactment, has directed, implemented, and enforced
26   the policy.
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 1          13.    MICHAEL V. DRAKE, is the president of the University of California. This
 2   Defendant is responsible for the implementation, and enforcement, of the challenged
 3   policy, and, since its enactment, has directed, implemented, and enforced the policy.
 4          14.    Defendants are responsible for enforcing, have enforced, and will continue
 5   to enforce in the future, the challenged mandate against Plaintiff, as further explained
 6   herein.
 7                                JURISDICTION AND VENUE
 8          15.    This Court has subject-matter jurisdiction over this action under 28 U.S.C.
 9   §§ 1331 and 1343(a).
10          16.    Venue is proper in this judicial district under 28 U.S.C. § 1391 because
11   Defendants reside in this judicial district and a substantial part of the events or omissions
12   giving rise to this action occurred in this judicial district.
13                                  FACTUAL BACKGROUND
14     I.      PLAINTIFF HAD COVID-19
15          17.    Plaintiff is a professor of Psychiatry and Human Behavior at the UCI School
16   of Medicine and the director of the Medical Ethics Program at UCI Health. Plaintiff’s
17   residency training was at UCI from 2003-2007. In 2007, Plaintiff was hired by UCI as a
18   Health Sciences Assistant Clinical Professor. In 2013, Plaintiff was promoted to Health
19   Sciences Associate Clinical Professor and in 2019, Plaintiff was promoted again to Health
20   Sciences Clinical Professor and holds this position currently.
21          18.    Plaintiff contracted the COVID-19 virus in July 2020, which was confirmed
22   by PCR testing, and he experienced many of the common symptoms associated with
23   COVID-19, including loss of taste and smell. Plaintiff fully recovered.
24    II.      COVID-19 IN CALIFORNIA AND FAILED RESTRICTIVE MEASURES
25          19.    The first confirmed case of the COVID-19 virus in California was on
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 1   January 22, 2020. 4 Governor Gavin Newsom (“Newsom”) instituted aggressive stay at
 2   home orders in California on March 19, 2020, when there were approximately 900
 3   cases within the state. 5 Despite the aggressive stay at home orders, the virus continued
 4   to spread.
 5             20.   The CDC has explained that even with protective measures as instituted in
 6   California, “most of the U.S. population will be exposed to this virus [SARS-CoV-2].” 6
 7   The CDC estimates that, through May 2021, approximately 49% of those aged 18 to 49
 8   years have been infected with SARS-CoV-2 despite lockdowns.                 This means that
 9   approximately half of the individuals subject to the Mandate are likely to have already
10   had the virus and have natural immunity and, as discussed herein, have a lower risk than
11   vaccinated individuals of being re-infected with and transmitting the virus.
12             21.   UC is a public university intended to serve the residents of California and is
13   open to students from around the world. It currently has more than 280,0000 students
14   and more than 227,000 faculty and staff. UC is telling those that are naturally immune
15   that unless they get vaccinated that they need not bother leaving their homes since they
16   will be excluded from campus.
17             22.   If Defendants instituted the Mandate with the goal of having a student body
18   and faculty that is immune to the COVID-19 virus, it would have exempted from the
19   Mandate those who are already immune due to having had COVID-19. Failure to do so
20   means that Defendants’ Mandate is not about immunity, it is only about vaccination
21   status.
22
23
     4
       See https://www.latimes.com/world-nation/story/2020-08-21/surprising-tale-first-la-
24   covid-19-case.
25   5
       See https://www.politico.com/states/f/?id=00000170-f5a4-d209-af70-fdae4c930000;
26   see also https://www.ksla.com/2020/03/20/california-becomes-first-state-order-lock
     down/.
27   6
         https://stacks.cdc.gov/view/cdc/86068/cdc_86068_DS1.pdf.
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 1   III.   PLAINTIFF HAS A LOWER RISK OF BECOMING RE-INFECTED
 2          AND TRANSMITTING THE VIRUS THAN VACCINATED
 3          INDIVIDUALS
 4          23.   Peer reviewed studies on COVID-19 demonstrate the durability of natural
 5   immunity following COVID-19 infection. The scientific evidence is clear that COVID-
 6   19 recovered individuals have immunity that is far superior to vaccine-mediated
 7   immunity. CDC and FDA data also shows that natural immunity has proved far more
 8   than 99% effective while vaccine immunity is at best between 67% and 95% effective,
 9   depending on the vaccine, and this is under the previous ideal conditions of a clinical
10   trial. Moreover, unlike those vaccinated for COVID-19 who can still become infected
11   and have the same amount of virus in their nose as those unvaccinated and infected with
12   COVID-19, there has never been a single documented case of a naturally immune
13   individual becoming re-infected with and transmitting the virus to anyone.
14          A. Infection with COVID-19 Virus Provides Robust Long-Term Immunity
15          24.   The human body knows how to develop immunity to new viruses. The
16   adaptive immune system consists of an enormously diverse repertoire of B cells –
17   precursors of antibody-secreting plasma cells – and T cells with a nearly unlimited
18   capacity to recognize and ‘adapt’ to previously unseen pathogens.
19          25.   As explained by Dr. Ryan Cole, a Mayo Clinic-trained pathologist, “Yes,
20   our antibody levels drop over time, however, scientifically, the memory B cells that make
21   antibodies have been proven to be present in our lymph nodes and bone marrow.”       Dr.
22   Cole further explains, “They are primed and ready to produce a broad array of antibodies
23   upon…exposure. It would be physiologically, energetically impossible to maintain high
24   antibody levels to all the pathogens we are constantly exposed to, and we would look like
25   the ‘swollen Stay-Puft marshmallow man’ of lymph nodes, constantly, if the immune
26   system were required to do that.”
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 1         26.    In line with Dr. Cole’s explanation, numerous immunologic studies of
 2   individuals that have had the COVID-19 virus demonstrate that they developed sustained,
 3   broad and durable immunity and robust B cell and T-cell memory to the virus which
 4   protect them from reinfection. In other words, natural immunity to the COVID-19 virus
 5   continues to be present and effective even after antibody levels, detectable by lab tests,
 6   wane over time. Similarly, in a study of monkeys that were deliberately re-exposed to
 7   the COVID-19 virus after having COVID-19, none of them were re-infected.
 8         27.    Reflecting these findings, the natural immunity produced by the closely
 9   related virus, SARS-CoV-1, is lifelong, supporting that the immunity from SARS-CoV-
10   2, the COVID-                                                             disease physician
11   and professor at the UC: “
12   extrapolating from data on other coronaviruses that cause severe illness, SARS and
13   MERS.” 7
14         28.    Consistent with these scientific studies, in the 19 months since the COVID-
15   19 virus first appeared in the United States, doctors and scientists have not identified any
16   naturally immune individual that was re-infected with and transmitted this virus to
17   anyone. This is despite the entire world’s scientific community turning its attention to
18   studying this virus.
19         B.     Natural Immunity is Superior to Vaccine Immunity
20                     i.   Natural Immunity – Great Than 99% Effective
21         29.    The hunt for re-infections has been a nationwide effort and out of the
22   estimated 120.2 million individuals in the United States who have been infected with
23   SARS-CoV-2 as of May 2021, 8 there is not a single documented case of an individual
24   being re-infected with the virus and transmitting it to another person.
25
26   7
       https://www.wsj.com/articles/herd-immunity-is-near-despite-faucis-denial-116166245
27   54.
     8
       See https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/burden.html.
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 1         30.    A five-month study looking at reinfection rates in employees of the
 2   Cleveland Clinic Health System previously infected with the COVID-19 virus found that
 3   not one of the 1,359 previously infected subjects who remained unvaccinated was
 4   reinfected with the virus despite a high background rate of COVID-19 in the hospital.
 5   Irish researchers recently published a review of eleven cohort studies with over 600,000
 6   total recovered COVID-19 patients, not all of whom were well defined and may have had
 7   suspected COVID-19 with positive serologies later on who were followed up with over
 8   ten months. They found the reinfection rate to be 0.27% “with no study reporting an
 9   increase in the risk of reinfection over time.” Based on this data, the researchers were
10   able to assert that “naturally acquired SARS-CoV-2 immunity does not wane for at least
11   10 months post-infection.” Moreover, this study also did not document a single case of
12   reinfection that then resulted in transmission to another person.
13         31.    Given that the current number of confirmed cases worldwide is
14   approximately 200 million, 9 if reinfection was possible in even one percent of
15   individuals, the world would have observed 2 million second and third cases with many
16   requiring hospitalization and coming to clinical attention. No such large volume of
17   reinfection cases has come to clinical attention in any region of the world.
18                    ii.   Vaccine Immunity – Far Less than 99% Effective
19         32.    In contrast to greater than 99% efficacy from natural immunity, the efficacy
20   from vaccine immunity in a clinical trial setting is admittedly no greater than between
21   67% and 95%, depending on the COVID-19 vaccine. The Pfizer vaccine had initially, at
22   best, efficacy of 95%, 10 the Moderna has efficacy of 94.5%, 11 and the J&J vaccine has
23   efficacy of approximately 67%, 12 and that was under previous ideal conditions in a
24   clinical trial, against the original wild-type variant of the virus. The COVID-19 vaccines
25   9
       See https://covid19.who.int/.
26   10
        See https://www.fda.gov/media/144416/download.
     11
        See https://www.fda.gov/media/144673/download.
27   12
        See https://www.fda.gov/media/146338/download.
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 1   have had considerably less efficacy in the real world which has been the case based on
 2   the data to date. But even assuming the optimal clinical trial efficacy numbers, this is
 3   still far less than the efficacy from having had the COVID-19 virus, which is over 99%.
 4         33.    Vaccines, by design, attempt to emulate the immunity created by a natural
 5   infection. Nonetheless, they have never achieved the same level of protection afforded
 6   by natural infection from a virus. Every single vaccine for a virus confers an inferior
 7   immunity to having had the actual virus. Even the best vaccines do not confer immunity
 8   to all recipients. 13 In those who do obtain some immunity from vaccination, the
 9   temporary immunity created by any vaccine typically wanes over time. Hence, the
10   warning in the Mandate that COVID-19 boosters will be needed. 14 This has been
11   confirmed by the pharmaceutical companies selling the COVID-19 vaccines and the CDC
12   has echoed the likely need for boosters of the COVID-19 vaccines, as discussed at its
13   advisory committee meeting on June 23, 2021. 15
14         34.    Dr. Ryan Cole, who spent the last 16 months examining and culturing the
15   COVID-19 virus specimens, recently explained why infection-induced immunity to this
16   virus is much deeper and broader than vaccine immunity:
17                A natural infection induces hundreds upon hundreds of
18   13
        Pfizer Recipient Fact Sheet can be viewed at https://www.fda.gov/media/
19   144414/download (“The Pfizer-BioNTech COVID-19 Vaccine may not protect
20   everyone”); Moderna Recipient Fact Sheet can be viewed at https://www.fda.gov/media/
     144638/download (“The Moderna COVID-19 Vaccine may not protect everyone”); and
21   the J&J Recipient Fact Sheet can be viewed at https://www.fda.gov/media/
22   146305/download (“The Janssen COVID-19 Vaccine may not protect everyone”).
     14
         https://policy.ucop.edu/doc/5000695/SARS-Cov-2 at FAQ No. 4 which states,
23
     “Infectious disease experts anticipate that annual or more frequent boosters will be
24   necessary and receipt of boosters will be required, consistent with product labeling, in
     the same way that the initial vaccination is required by this policy and subject to the same
25
     Exceptions and Deferrals.”
26   15
        See https://www.cdc.gov/vaccines/acip/meetings/downloads/slides-2021-06/06-CO
27   VID-Oliver-508.pdf; see also, e.g., https://www.nytimes.com/2021/04/16/world/pfizer-
     vaccine-booster.html.
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 1                antibodies against all proteins of the virus, including the
 2                envelope,   the   membrane,       the   nucleocapsid,   and   the
 3                spike…Dozens upon dozens of these antibodies neutralize the
 4                virus when encountered again. Additionally, because of the
 5                immune system exposure to these numerous proteins
 6                (epitomes), our T cells mount a robust memory, as well. Our T
 7                cells are the ‘marines’ of the immune system and the first line
 8                of defense against pathogens. T cell memory to those infected
 9                with SARSCOV1 is at 17 years and running still….
10                In vaccine-induced immunity…we mount an antibody
11                response to only the spike and its constituent proteins … [and]
12                this produces much fewer neutralizing antibodies, and as the
13                virus preferentially mutates at the spike, these proteins are
14                shaped differently and antibodies can no longer ‘lock and key’
                                              16
15                bind to these new shapes.
16         35.    Reflecting the foregoing, in an outbreak of COVID-19 among gold mine
17   workers in French Guiana, 60% of the fully vaccinated gold mine workers were infected
18   while none of the individuals with a prior COVID-19 infection were infected. Studies
19   analyzing the entire population of Israel has found that those with prior natural infection
20   had a higher rate of protection from infection, hospitalization, and severe illness than
21   those that had immunity from the COVID-19 vaccine. Another report from Israel found
22   a sixfold rate of COVID-19 infection among the vaccinated versus the naturally immune:
23                With a total of 835,792 Israelis known to have recovered from
24                the virus, the 72 instances of reinfection amount to 0.0086% of
25                people who were already infected with COVID. By contrast,
26
     16
27    https://www.theblaze.com/op-ed/horowitz-israeli-government-data-shows-natural-
     immunity-from-infection-much-stronger-than-vaccine-induced-immunity#toggle-gdpr.
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 1                Israelis who were vaccinated were 6.72 times more likely to get
 2                infected after the shot than after natural infection.
 3         36.    Internal official emails with the UC healthcare system reflect the reality that
 4   natural infection provides for greater protection:
 5               a. In an email sent to the UCI School of Medicine on July 17, 2021, the
 6                  Associate Dean of Graduate Medical Education informed faculty and
 7                  residents, “[t]here has been a substantial increase in the number
 8                  of breakthrough infections [i.e., infections in fully vaccinated individuals]
 9                  among our UCI health care workers, including residents and fellows.”
10               b. In an email sent to Medical Directors at UCI Health on July 22, 2021, the
11                  CEO of UCI Health advised that “[t]he COVID-19 delta variant is now
12                  responsible for the majority (75%) of UC cases, including several
13                  breakthrough vaccine cases.”
14               c. In an email sent to directors at UCI on July 27, 2021 it explained that “due
15                  to continued and increasing concerns about the spread of COVID-19,
16                  even among vaccinated individuals, we will not be returning to the
17                  classrooms as had been expected for the past several months.”
18         37.    In contrast, there has been no such notice of increasing cases among those
19   who have recovered from COVID-19. This indicates that there is a sufficiently alarming
20   number of vaccinated individuals that are acquiring symptomatic COVID-19 that it
21   necessitated notice to the entire UCI School of Medicine about this issue and protocol
22   changes, while no such notice has been necessary for naturally immune individuals.
23         38.    What is happening at UCI is similarly being seen nationwide as the number
24   of cases of COVID-19 in fully vaccinated individuals is rising precipitously. That
25   number was growing so rapidly and burdening resources to such an extent that the CDC
26   changed its reporting criteria to only report breakthrough cases resulting in
27   hospitalization or death.
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 1           39.   But simply taking the FDA and CDC data at face value, the reality is that
 2   natural infection provides for greater than 99% protection while vaccine immunity
 3   provides for, at best, between 67% and 95% protection.
 4                    iii.   COVID-19 Vaccines Do Not Prevent Infection and
 5                           Transmission
 6           40.   Natural immunity confers an additional benefit over vaccine immunity.
 7   Natural immunity will prevent a virus from being able to replicate and shed in the
 8   naturally immune individual.       In contrast, COVID-19 vaccines appear to reduce
 9   symptoms in some but still permit the vaccinees to become infected with and transmit the
10   virus. 17
11           41.   In animal studies, the COVID-19 vaccine candidates could not fully block
12   viral infection and replication in the nose of monkeys upon viral challenge. In contrast,
13   natural COVID-19 infection of monkeys completely prevented further re-infection at any
14   site tested – by nasal, throat, and anal swabs.
15           42.   Viral carriage by the vaccinated is reflected in the recent outbreak in
16   Barnstable County, Massachusetts, which has a 69% vaccination coverage rate among its
17   eligible residents. 18 A recent CDC investigation found that 74% of those infected in the
18   outbreak were fully vaccinated for COVID-19 and, even more alarming, the vaccinated
19   had on average more virus in their nose than the unvaccinated that were infected. The
20   study reported zero cases of infection among those that previously had COVID-19.
21           43.   This forced the Director of the CDC, Rochelle Walensky, to admit that
22   individuals vaccinated for COVID-19, while having less symptoms, can still become
23
24
25   17
       See https://www.cdc.gov/vaccines/covid-19/health-departments/breakthrough-cases.ht
26   ml (“There is some evidence that vaccination may make illness less severe for those who
     are vaccinated and still get sick.”).
27   18
          See https://www.cdc.gov/mmwr/volumes/70/wr/mm7031e2.htm.
28
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 1   infected with and transmit the virus. 19 Dr. Walensky admitted that “what [the COVID-
 2   19 vaccines] can’t do anymore is prevent transmission.” 20 After this admission, Wolf
 3   Blitzer asks Dr. Walensky if “you get covid, you’re fully vaccinated, but you are totally
 4   asymptomatic, you can still pass on the virus to someone else, is that right?” and Dr.
 5   Walensky answers “that is exactly right.” 21
 6           44.   Defendants will nonetheless only allow individuals that have been
 7   vaccinated back on campus, despite the unequivocal data that proves that the COVID-19
 8   vaccines cannot and do not prevent infection and transmission. On the other hand,
 9   Defendants will not allow back on campus naturally immune individuals who, based on
10   all available data to date, have a near zero risk of becoming reinfected with and
11   transmitting SARS-CoV-2. As explained by Dr. Marty Makary, a professor at Johns
12   Hopkins School of Medicine, the failure to lift restrictions on naturally immune
13   individuals is “one of the biggest failures of our current medical leadership.” 22
14   IV.      COVID-19 VACCINES ARE NOT RISK-FREE AND THE RISK IS
15            GREATER FOR THE PREVIOUSLY INFECTED
16           45.   Studies have also demonstrated legitimate safety concerns regarding the
17   current COVID-19 vaccines, and heightened safety concerns when vaccinating naturally
18   immune individuals.
19         A. Vaccinating Naturally Immune Individuals Presents an Increased Risk
20           46.   Studies have found that naturally immune individuals have significantly
21   higher rates of adverse reactions when receiving the COVID-19 vaccine. For example,
22   Raw, et al. reported that among 974 individuals vaccinated for COVID-19, the vaccinated
23
     19
24        https://twitter.com/CNNSitRoom/status/1423422301882748929.
     20
25        https://twitter.com/CNNSitRoom/status/1423422301882748929.
     21
26        https://twitter.com/CNNSitRoom/status/1423422301882748929.
     22
      https://summit.news/2021/05/26/johns-hopkins-prof-half-of-americans-have-natural-
27
     immunity-dismissing-it-is-biggest-failure-of-medical-leadership/.
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 1   COVID-19 recovered patients had higher rates of vaccine reactions. Mathioudakis, et al.
 2   found the same result in a study of 2,002 individuals vaccinated for COVID-19.
 3   Krammer et al. found the same result in a study of 231 volunteers vaccinated for COVID-
 4   19, concluding that, “Vaccine recipients with preexisting immunity experience systemic
 5   side effects with a significantly higher frequency than antibody naïve vaccines.” In a
 6   paper published by Bruno, et al. the authors pose urgent questions on COVID-19 vaccine
 7   safety, highlighting the high number of reported serious adverse events and the
 8   shortcomings of the clinical trials, including the exclusion of those with prior SARS-
 9   CoV-2 infection.
10        B. The COVID-19 Vaccines Present Certain Risks for Everyone
11         47.    There are also risks to receiving COVID-19 vaccines irrespective of prior
12   infection. The primary system for tracking adverse events after vaccination in the United
13   States is the Vaccine Adverse Events Reporting System (“VAERS”). A three-year
14   federal government funded study by Harvard researchers tracking 715,000 patients found
15   that “fewer than 1% of vaccine adverse events are reported.”
16         48.    Reports of serious adverse events from COVID-19 vaccines are similarly
17   underreported to VAERS. For example, according to the CDC, “Anaphylaxis after
18   COVID-19 vaccination is rare and occurred in approximately 2 to 5 people per million
19   vaccinated in the United States based on events reported to VAERS.” This is in stark
20   contrast to a recent study at Mass General Brigham that assessed anaphylaxis in a clinical
21   setting after the administration of COVID-19 vaccines and found “severe reactions
22   consistent with anaphylaxis occurred at a rate of 2.47 per 10,000 vaccinations.” This is
23   equivalent to 50 to 120 times more cases than what VAERS and the CDC are reporting.
24   And this is for a serious, potentially life-threatening, adverse event that occurs almost
25   immediately after vaccination and which vaccine providers are repeatedly advised to
26   watch for and report.
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 1         49.    If anaphylaxis is being underreported, the level of underreporting for serious
 2   adverse events that do not occur immediately after vaccination or are not easily identified
 3   is likely far greater. For example, on June 23, 2021, the CDC reported the alarming
 4   numbers of reported myocarditis and pericarditis cases occurring after COVID-19
 5   vaccination. 23 The long-term effects of myocarditis are not fully understood but can be
 6   very serious.     Cases of thrombocytopenia have also occurred after COVID-19
 7   vaccination, as well as serious and sometimes fatal blood clots. 24 These and numerous
 8   other serious adverse events are being recognized but the true rate of these serious adverse
 9   events is most certainly underreported. 25
10         50.    Even if the risks from the COVID-19 vaccines are truly small, there is no
11   reason to expose someone to any risk when they are already immune to COVID-19.
12
13
14   23
        https://www.cdc.gov/vaccines/acip/meetings/downloads/slides-2021-06/03-COVID-
15   Shimabukuro-508.pdf at page 27.
     24
16     See https://www.fda.gov/news-events/press-announcements/joint-cdc-and-fda-state
     ment-johnson-johnson-covid-19-vaccine.
17   25
       Research shows that the coronavirus spike protein from COVID-19 vaccines enters the
18   bloodstream and can be found throughout the body in almost all vital organs.
     https://academic.oup.com/cid/advance-article/doi/10.1093/cid/ciab465/6279075. This
19
     would help explain the high rate of reported blood clots, heart disease, brain damage and
20   reproductive issues. Dr. Byram Bridle, a viral immunologist and associate professor at
     the University of Guelph, Ontario, recently stated: “We made a big mistake. We didn’t
21
     realize it until now…We thought the spike protein was a great target antigen, we never
22   knew the spike protein itself was a toxin and was a pathogenic protein. So by vaccinating
     people we are inadvertently inoculating them with a toxin.” https://omny.fm/shows/on-
23
     point-with-alex-pierson/new-peer-reviewed-study-on-covid-19-vaccines-sugge. Recent
24   data from Japan – data not required by the U.S. – reflects that lipid nano particles from
     the vaccine encapsuling the spike protein mRNA are being deposited into vital organs
25
     after vaccination. Of concern are the data related to lipid nano particles depositing into
26   the adrenal glands, bone marrow, liver, ovaries, brain, and spleen and increasing in
     quantity over time post-vaccination. https://www.icandecide.org/wp-content/uploads/
27
     2021/06/Translation-of-Japanese-data.pdf at 16-17.
28
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 1    V.      THE MANDATE IMPLEMENTED BY UC
 2           51.    On July 15, 2021, the UC system released its final COVID-19 Vaccination
 3   Program Policy. 26 Since that time, the UC system has systemically enforced the policy.
 4   The stated purpose of the policy “is to facilitate protection of the health and safety of the
 5   University community” by requiring the UC community to “be fully vaccinated against
 6   COVID-19 before physically accessing the University’s Locations and Programs.”
 7           52.    The Mandate is clear that it is a permanent policy and that annual or more
 8   frequent boosters will be required: “compliance will require repeat vaccinations or
 9   boosters on an annual or recurring basis consistent with FDA-approved labeling and CDC
10   recommendations.” 27         The Frequently Asked Questions section of the Mandate
11   specifically addresses naturally immune individuals, stating:
12                  I was recently diagnosed with COVID-19, and/or I had an
13                  antibody test that shows that I have natural immunity. Does
14                  this support a Medical Exemption? You may be eligible for a
15                  temporary Medical Exemption (and, therefore, a temporary
16                  Exception), for up to 90 days after your diagnosis and certain
17                  treatments.      According to the US Food and Drug
18                  Administration, however, “a positive result from an antibody
19                  test does not mean you have a specific amount of immunity or
20                  protection    from   SARS-CoV-2      infection   …    Currently
21                  authorized SARS-CoV-2 antibody tests are not validated to
22                  evaluate specific immunity or protection from SARS-CoV-2
23                  infection.” For this reason, individuals who have been
24
25
26   26
          See https://policy.ucop.edu/doc/5000695/SARS-Cov-2.
27   27
          https://policy.ucop.edu/doc/5000695/SARS-Cov-2 at pages 4 and 10 of 14.
28
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 1                   diagnosed with COVID-19 or had an antibody test are not
 2                   permanently exempt from vaccination. 28
 3   (“temporary naturally immune exemption”).
 4            53.    As discussed above, the immunity achieved following natural infection does
 5   not expire after 90 days and is, very likely, lifelong. UC has not shared any data to show
 6   that immunity on day 89 following diagnosis differs from immunity on day 91 following
 7   diagnosis. Plaintiff recovered from COVID-19 over one year ago and would not be
 8   entitled to this temporary naturally immune exemption even though his immunity is
 9   superior to an individual who was vaccinated 1 day or 91 days ago. A temporary
10   exemption for a 90-day period from the date of diagnosis is arbitrary and is not grounded
11   in science.
12            54.    Plaintiff, along with his students and fellow faculty that have had the virus,
13   will suffer great detriment if prevented from returning to campus. Plaintiff is frustrated
14   and negatively impacted by the prospect of being forced to choose between an invasion
15   of his bodily integrity or continuing his employment at UCI. Plaintiff merely wants the
16   same right privileges afforded to others who are deemed immune through vaccination.
17   Instead, he is being required, under threat of exclusion from UC, to violate his bodily
18   integrity with an injection of a product that presents risks but no benefit to him or to
19   others at UC.
20            55.    It is unscientific and lacks a rational basis, let alone a compelling reason, to
21   allow vaccinated individuals to attend or work at UC in person when their immunity is
22   less effective at preventing infection and spread of COVID-19 than those that have had
23   COVID-19 while not allowing the naturally immune.
24
25
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27   28
          Id. at page 11 of 14, ¶ 9.
28
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 1   VI.       DEFENDANTS’ RESTRICTIONS VIOLATE PLAINTIFF’S
 2             CONSTITUTIONAL RIGHTS
 3           A. Plaintiff’s Right to Equal Protection of the Laws Has Been Violated
 4            56.      Plaintiff is naturally immune to SARS-CoV-2. Therefore, Plaintiff is at least
 5   as equally situated as those who are fully vaccinated with a COVID-19 vaccine, yet
 6   Defendants deny Plaintiff equal treatment and seek to burden Plaintiff with an
 7   unnecessary violation of bodily integrity to which Plaintiff does not consent in order to
 8   be allowed to continue to work at UCI. Naturally Immune Individuals are Similarly
 9   Situated to Vaccinated Individuals
10            57.      The Mandate’s express purpose is to protect members of the UCI
11   community from COVID-19. 29 Defendants seek to achieve this by ensuring that only
12   people who theoretically have immunity to the virus return to campus. 30 Both individuals
13   with natural immunity, like Plaintiff, and individuals who are vaccinated are alike in that
14   they have immunity to the virus that causes COVID-19. As the foregoing shows naturally
15   immune individuals have at least as good, and in fact superior, immunity when compared
16   to vaccinated individuals.
17            58.      Nevertheless, the Mandate fails to treat these two groups of immune
18   individuals similarly. Individuals who have vaccine created immunity will be permitted
19   to return to campus. 31 However, with the exception of the temporary naturally immune
20   exception, individuals who have natural immunity will not be allowed to return to
21   campus. 32
22
     29
       See https://policy.ucop.edu/doc/5000695/SARS-Cov-2 (“The purpose of this policy is
23   to facilitate protection of the health and safety of the University community.”).
24   30
       Id. (“[T]his policy provides for a COVID-19 Vaccination Program under which any
25   Covered Individual is required … to be fully vaccinated against COVID-19 before
     physically accessing the University’s Locations and Programs.”).
26   31
          See https://policy.ucop.edu/doc/5000695/SARS-Cov-2.
27   32
          Id. at 11.
28
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 1 VII.      PLAINTIFF IS SUFFERING AND WILL SUFFER IRREPARABLE
 2           HARM
 3           59.      Plaintiff will continue to suffer irreparable harm if the preliminary
 4   injunction requested is not granted.          It has long been established that the loss of
 5   constitutional freedoms constitute irreparable harm. Am. Trucking Ass’ns v. City of Los
 6   Angeles, 559 F.3d 1046, 1059 (9th Cir. 2012); Monterey Mech. Co. v. Wilson, 125 F.3d
 7   702, 715 (9th Cir. 1997).
 8           60.      Moreover, without a preliminary injunction preserving the status quo,
 9   Plaintiff will suffer an impending loss of employment and of his professional reputation.
10   Indeed, “the loss of one’s job does not carry merely monetary consequences; it carries
11   emotional damages and stress, which cannot be compensated by mere back payment of
12   wages.” Nelson v. Nat’l Aeronautics and Space Admin., 530 F.3d 865, 877-78 (9th Cir.
13   2008), rev’d on other grounds, Nat’l Aeronautics and Space Admin. v. Nelson, 131 S. Ct.
14   746 (2011).
15           61.      If Plaintiff is not permitted on campus as a result of this mandate, his practice
16   and roles at UC will be drastically and adversely affected, including in the following
17   ways:
18                 a. He will not be able to attend in-person meetings with his team or with
19                    patients and families in the hospital and so his role as ethics committee chair
20                    and director of the ethics consult service will be impacted;
21                 b. He will not be able to hold Monday and Tuesday afternoon Resident Clinic;
22                 c. He will not be able to see his own patients from his practice as his faculty
23                    practice is located at the Department of Psychiatry clinic;
24                 d. He will not be able to do his Resident in-person teaching;
25                 e. He will not be able to do on-site ethics consultations in the hospital; and
26                 f. He will not be able to teach the Ethics and Behavioral Science course for
27                    first-year students.
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                                                      22
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 1         62.    Treating naturally immune individuals differently from the fully vaccinated,
 2   when both have immunity, by demanding Plaintiff violate his right bodily integrity
 3   presents only a risk of harm and is unconstitutional.
 4                                           COUNT I
 5                           For Declaratory and Injunctive Relief
 6           (Fourteenth Amendment of the U.S. Constitution, Equal Protection)
 7
 8         63.    Plaintiff re-alleges and incorporates by reference all of the allegations
 9   contained in all of the preceding paragraphs.
10         64.    The Fourteenth Amendment, Section 1, to the United States Constitution
11   provides:
12                   No state shall make or enforce any law which shall abridge
13                   the privileges or immunities of citizens of the United States;
14                   nor shall any state deprive any person of life, liberty, or
15                   property, without due process of law; nor deny to any person
16                   within its jurisdiction the equal protection of the laws.
17         65.    Pursuant to the mandate, all, “personnel, students or trainees who physically
18   access a University Facility or Program in connection with their employment,
19   appointment or education/training” are required receive a covid-19 vaccination to be able
20   to continue to physically access a University Facility or Program. The natural immune
21   are not exempted from the mandate aside from the temporary natural immune exception.
22         66.    The naturally immune have at least the same level of immunity to SARS-
23   CoV-2 as do the fully vaccinated. Plaintiff has had a confirmed case of SARS-CoV-2
24   within. Plaintiff’s immunity to SARS-CoV-2 is at least as robust and durable as that of a
25   person fully vaccinated with a Covid-19 vaccine.
26         67.    Defendants’ mandate violates the Fourteenth Amendment to the U.S.
27   Constitution, which includes clearly established fundamental rights and liberty interests
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                                                 23
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 1   of personal autonomy and bodily integrity, see, e.g., Griswold v. Connecticut, 381 U.S.
 2   479 (1965); Roe v. Wade, 410 U.S. 113 (1973); Planned Parenthood v. Casey, 505 U.S.
 3   833 (1992); Rochin v. California, 342 U.S. 165 (1952); Obergefell v. Hodges, 576 U.S.
 4   644 (2015); and the right to reject medical treatment, Cruzan v. Director, Missouri Dep’t
 5   Health, 497 U.S. 261 (1990) and Riggins v. Nevada, 504 U.S. 127 (1992).
 6             68.   In modern jurisprudence, burdens upon fundamental rights require strict
 7   scrutiny. Washington v. Glucksberg, 521 U.S. 702 (1997) (“narrowly tailored to serve a
 8   compelling state interest”).
 9             69.   As mandated vaccinations are a substantial burden, Defendants must prove
10   narrow tailoring to a compelling interest that justifies mandatory vaccinations, not any
11   more general interest. But while government may have a general interest in mitigating
12   COVID, the following problems reveal no narrow tailoring to any compelling interest
13   exists.
14             70.   Critically, naturally acquired immunity from COVID is as robust as vaccine-
15   acquired immunity, so there is no compelling interest (nor any rational basis) in
16   vaccinating or requiring the vaccination of those who have already had COVID.
17             71.   Further, given natural and vaccine immunity, California has COVID herd
18   immunity. The California Department of Public Health estimates that as of June 2021,
19   85.9% of adults age 18 and older in California have antibodies to SARS-CoV-2.33 So
20   Defendants have no compelling interest in mandating COVID vaccination.
21             72.   The same evidence establishes that, assuming a compelling interest in
22   preventing the spread of COVID-19, Defendants’ Mandate is not narrowly tailored to
23   such an interest since his immunity and that of the naturally immune is more protective
24   than vaccine immunity.
25
26
     33
       https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/COVID-19/Sero-prevalence-
27
     COVID-19-Data.aspx.
28
                                                  24
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 1         73.    Furthermore, even absent the fundamental rights at issue, the Mandate also
 2   violates the Fourteenth Amendment under modern rational basis scrutiny, since the
 3   Mandate is unreasonable and has no real or substantial relationship towards protecting
 4   the public health, particularly as applied to those with robust natural immunity.
 5   Defendants may not irrationally single out one class of individuals for discriminatory
 6   treatment. The Mandate irrationally singles out the convalescent and discriminates
 7   against them.
 8         74.    The Equal Protection Clause requires that persons who are similarly situated
 9   receive like treatment under the law.
10         75.    The fully vaccinated and the convalescent are similarly situated and the
11   Mandate affects them in an unequal manner, permitting admission to the fully vaccinated
12   and denying admission to the convalescent.
13         76.    The Mandate treats Plaintiff differently, and negatively, from other similarly
14   situated persons based on the manner in which Plaintiff acquired immunity to SARS-
15   CoV-2.
16                                           COUNT II
17                           For Declaratory and Injunctive Relief
18      (Fourteenth Amendment of the U.S. Constitution, Substantive Due Process)
19
20         77.    “The Fourteenth Amendment’s due process clause ‘provides heightened
21   protection against government interference with certain fundamental rights and liberty
22   interests.’” Sanchez v. City of Fresno, 914 F. Supp. 2d 1079, 1100-01 (E.D. Cal. 2012)
23   (quoting Glucksberg, 521 U.S. 702, 720 (1997)). Plaintiff’s constitutional right to bodily
24   integrity is impinged by the Mandate.
25         78.    It is well established that individuals have a fundamental liberty interest in
26   and right to bodily integrity and informed consent. See Benson v. Terhune, 304 F.3d 874,
27   884 (9th Cir. 2002) (“The due process clause of the Fourteenth Amendment substantively
28
                                                 25
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 1   protects a person's rights to be free from unjustified intrusions to the body”). “This notion
 2   of bodily integrity has been embodied in the requirement that informed consent is
 3   generally required for medical treatment.” Cruzan, 497 U.S. 261, 277–78 (1990). See
 4   also Benson, 304 F.3d at 884 (a person has a right “to refuse unwanted medical treatment
 5   and to receive sufficient information to exercise these rights intelligently”). This means
 6   that the right to bodily integrity includes the concept that a “competent person has a
 7   constitutionally     protected    liberty   interest   in   refusing   unwanted     medical
 8   treatment.” Galvan v Duffie, 807 Fed. Appx. 696, 697 (9th Cir 2020) (quoting Cruzan,
 9   497 U.S. at 277–78).
10             79.   The United States Constitution guarantees that state governments shall not
11   “deprive any person of life, liberty, or property without due process of law,” U.S.
12   CONST. amend. XIV § 1, and “forbids the government to infringe certain ‘fundamental’
13   liberty interests at all, no matter what process is provided, unless the infringement is
14   narrowly tailored to serve a compelling state interest.” Reno v. Flores, 507 U.S. 292, 301-
15   302 (1993). Defendants lack a compelling interest to impinge on Plaintiff’s fundamental
16   rights.
17             80.   Plaintiff has constitutional and fundamental liberty interests in bodily
18   integrity and informed consent, and the substantive due process rights to liberty and to
19   life.
20             81.   Plaintiff also has a constitutional and fundamental liberty interest in not
21   being compelled to provide private medication information to the state, which is also
22   being infringed by the mandates at issue.
23             82.   Defendants cannot show that the Mandate serves a compelling state interest.
24   While prior court decisions have found that a compelling state interest to control the
25   spread of infection from person-to-person can trump certain constitutional rights in
26   certain situations, see generally Whitlow v. Cal. Dep’t of Educ., 203 F. Supp. 3d 1079,
27   1089 (S.D. Cal. 2016), this interest is non-existent with respect to the COVID-19 vaccine
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 1   since this vaccine does not prevent vaccinated individuals from becoming infected and
 2   transmitting COVID-19.
 3         83.    Professor Sir Andrew Pollard, director of the Oxford Vaccine Group, has
 4   explained: “Herd immunity is not a possibility because [the Delta variant] still infects
 5   vaccinated individuals.”34 The vaccinated, when infected, can transmit the virus to
 6   others, and are more likely to do so because they have less symptoms and hence are more
 7   likely to interact with others not knowing they are contagious. On the other hand, those
 8   who have had the COVID-19 virus and recovered have not been shown to become re-
 9   infected and transmit the virus to others. Therefore, there is no compelling interest in
10   requiring the COVID-19 vaccine.
11         84.    Hence, excluding individuals from the UC locations as a means to compel
12   such individuals to receive an injection of a COVID-19 vaccine does not pass strict
13   scrutiny.
14         85.    There is not even a rational basis to exclude the unvaccinated, recovered
15   individuals from UC since those vaccinated are at least as likely to spread COVID-19
16   and, in reality, are more likely.
17         86.    Plaintiff hereby seeks declaratory and injunctive relief to prevent
18   Defendants from depriving Plaintiff of the protections afforded to him under the
19
20   Counts I and II are also brought pursuant to 42 U.S.C. §1983 and §1988(b), as well as for
21   declaratory relief under 28 U.S.C. 2201.
22
23   34
        https://twitter.com/Channel4News/status/1425086490002997248. Professor Pollard
24   also stated that, “And what I suspect the virus will throw up next is a variant which is
     perhaps even better at transmitting in vaccinated populations. And so that’s even more
25
     of a reason not to be making a vaccine program around herd immunity…We have
26   now over four billion doses deployed of the vaccine globally and that is now enough
     doses to have prevented almost all of those [65,000 deaths expected this week globally
27
     from COVID-19] deaths and yet they are continuing.” (emphasis added).
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                                                27
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                     VERIFIED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1         87.    Defendants’ enforcement of the Mandate as announced will cause Plaintiff
 2   to suffer irreparable harm for which he has no adequate remedy at law. The Mandate
 3   denies Plaintiff his rights under the Fourteenth Amendment and Plaintiff seeks a
 4   permanent injunction preventing Defendants from implementing and enforcing the
 5   Mandate against the naturally immune.
 6                                     PRAYER FOR RELIEF
 7   WHEREFORE, Plaintiff requests the following relief:
 8         1.     Declare the Mandate unconstitutional as applied to the naturally immune;
 9         2.     Enjoin Defendants from enforcing the Mandate as against the naturally
10   immune;
11         3.     Grant Plaintiff his costs and attorneys’ fees under 42 U.S.C. § 1988, and any
12   other applicable authority; and
13         4.     For such and other and further relief as this Court deems just and proper.
14
15   Dated: August 18, 2021

16
                                       SIRI & GLIMSTAD LLP
17
18                                     By: /s/ Caroline Tucker
19                                          Aaron Siri (Pro Hac Vice to be filed)
                                            Elizabeth Brehm (Pro Hac Vice to be filed)
20                                          Caroline Tucker
21
                                       CHRIS WIEST ATTORNEY AT LAW, PLLC
22                                         Chris Wiest (Pro Hac Vice to be Filed)
23
                                             Attorneys for Plaintiff
24                                           AARON KHERIATY, M.D.
25
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     __________________________________________________________________________________
                    VERIFIED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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